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AFFIDAVIT
NOW COMES, Lawrence H. Woodward, Jr. and states as follows:

BACKGROUND. I was appointed to represent Nathaniel Powell in criminal case 2:16cr97 on
September 20, 2016. Per the Court’s Order (ECF No. 182), | submitted an Affidavit (ECF No.
185-1) regarding my representation of Nathaniel Powell and addressed various issues he raised in
a Motion to Vacate (ECF No. 168). On August 9, 2019, the Court denied four of the claims and
granted an evidentiary hearing on two remaining claims. I address those claims now and will do
so again at the evidentiary hearing:

L. As I stated previously (ECF No. 185-1 page 2 4 4), at no time after the plea did Mr.
Powell indicate any desire to appeal.

2. I consulted with Mr. Powell about the right to file a Notice of Appeal and specifically,
that he was waiving that right as part of the plea agreement he entered into with the
United States. He indicated a clear understanding of the waiver of appeal.

3. Mr. Powell claims in his sworn affidavit to the Court (ECF No. 186-2 page 2 {] 4) that
he asked me to get the lease agreement for the Gateway Drive address. I have no
memory of being asked to do this and my file does not indicates any such request from
Mr, Powell. At no time during my representation of Mr. Powell did [ become aware of
the lease he filed with the Court (ECF Nos. 170-1 and 186-1), He and I discussed the
premises enhancement, and based on those discussions and my review of a summary
of Ms. Wilson’s statement to law enforcement, | raised an objection with the Court at

sentencing (ECF No. 155 page 3 { 4), which was overruled.
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STATE OF VIRGINIA
CITY/COUNTY OF VIRGINIA BEACH, to wit:

I, Lawrence H. Woodward, Jr. swear that this information is true and correct to the best of my
knowledge and belief.

oe ff
Yul Ctl CCL4f) ~*~
Lawrence H. Woodward, Jr.

SUBSCRIBED and sworn to before me this 18" day of March, 2020.

Notary Public

My Commission Expires: | November 30, 2021 Registration #: 193519
